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Daniel Michael Morrissey, MBA

4/22/23

Honorable Reggie B. Walton
U.S. Federal Court

333 Constitution Ave, N.W.
Washington D.C, 20001

Reference: Case No.: 1:21-cr-00660-RBW
Your Honor:

I’m sorry I didn’t think about this sooner. I have provided the Brady Video. The prosecution
never provided this in discovery, or thereafter. Mr. Solis NEVER asked for this video from the

prosecution.

Both Mr. Solis, and Mr. Tortorice knew their affirmative duty under the law, both ignored the
law to get a conviction out of me.

The Brady Video speaks for itself.

ee fit, to call a status hearing in person so I can present all of the

danmorrissey@proton.me

